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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

CELANESE CORPORATION,                            §
                                                 §
       Plaintiff,                                §
                                                 §
vs.                                              §       CIVIL ACTION NO. _ _ _ __
                                                 §
ONEBEACON AMERICA                                §
INSURANCE COMPANY AND                            §
RESOLUTE MANAGEMENT, INC.,                       §
                                                 §
       Defendants.                               §

                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants OneBeacon America

Insurance Company ("OneBeacon") and Resolute Management, Inc. ("Resolute") hereby file this

Notice of Removal to remove this action from the 116111 District Court ofDallas County, Texas

(Honorable Tonya Parker presiding). This Notice of Removal is supported by the facts set forth

below and an index of the matters being filed is attached hereto as Exhibit 1.

                                   I.      INTRODUCTION

       Plaintiff, Celanese Corporation ("Celanese"), filed this action on or about October 30,

2015,in the 116111 District Court of Dallas County, Texas styled Celanese Corporation v.

OneBeacon America Insurance Company and Resolute Management, Inc. and bearing Cause No.

DC-15-13336. See Exhibit 2(b).

       OneBeacon and Resolute move to remove this lawsuit to this Court. This Court has

diversity jurisdiction over this lawsuit because Plaintiff, Celanese, a Delaware corporation with

its principal place of business in Texas, and Defendants, OneBeacon, a Pennsylvania corporation

with its principal place of business in Minnesota, and Resolute, a Nebraska corporation with its
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principal place of business in Nebraska, are completely diverse. Further, this case was timely

removed, the amount in controversy requirement is satisfied, and all Defendants consent to the

removal.

                                      II.     BACKGROUND

A.       This Case Was Timely Removed.

         Celanese effectuated service of process on Defendant, OneBeacon, on November 9,

2015. See Exhibit 2(c). Resolute accepted service through its counsel of record on November

13,2015. See Exhibit 3, Resolute Acceptance of Service. This Notice of Removal has been

filed well within thirty (30) days after service of process occurred and is filed within one year of

the filing of the Petition. Thus, removal is timely under 28 U.S.C. § 1446(b).

B.       Brief Overview of the Petition

         In its Petition, Celanese seeks declaratory judgments against OneBeacon and Resolute in

connection with certain insurance policies alleged to have been issued to Celanese by

OneBeacon between 1965 and 1972. See Exhibit 2(b)         at~~   34-50. Celanese claims that

OneBeacon and its third-party claims administrator, Resolute, are liable for the entirety of a

judgment entered against Celanese in Angie Keene, as Personal Representative of the Estate of

Dennis Seay and Linda Seay, Individually v. 3M Company, et al., in the Court of Common

Pleas, Spartanburg County, CIA No. 2013-CP-42-03915 (the "Seay Suit") in the amount of

fourteen million dollars ($14,000,000). Id.   at~~   30-42. It also claims that OneBeacon and

Resolute are liable for the entirety of any final judgments entered against or settlements entered

into by Celanese in three other pending actions:

     •   Gerald Smith, et al. v. Armstrong International, Inc., et al., in the Court of Common
         Pleas, Spartanburg County, CIA No. 2015-CP-42-02292 (the "G. Smith Suit");




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      •   Frankie Van Hammett and Shirley Hammett v. Aurora Pump Co., et al., in the Court of
          Common Pleas, Spartanburg County, CIA No. 2014-CP-42-1896 (the "Hammett Suit");

      •   Charlotte Gaye Smith and Gary Deane Smith v. CBS Corporation, et al., in the Court of
          Common Pleas, York County, CIA No. 2015-CP-46-2155 (the "C. Smith Suit").

Id.   at~~   43-50. In addition to these declaratory judgments, Celanese also seeks "direct, indirect,

consequential and incidental unliquidated damages in an amount to be determined at trial[,]" plus

exemplary damages, as a result of its claim that Resolute tortiously interfered with Celanese's

insurance contracts with OneBeacon. Id.       at~~   51-55.

                                 III.    GROUNDS FOR REMOVAL

          Removal is proper in this case pursuant to 28 U.S.C. §§ 1332 and 1441. "[A]ny civil

action brought in a State court of which the district courts of the United States have original

jurisdiction, may be removed by the defendant or the defendants, to the district court of the

United States for the district and division embracing the place where such action is pending." 28

U.S.C. § 1441(a). The district courts shall have original jurisdiction of all civil actions where

"the matter in controversy exceeds the sum or value of$75,000, exclusive of interest and costs,

and is between- (1) citizens of different States ... " 28 U.S. C. § 1332(a). Removal is proper in

this action because the amount in controversy exceeds $75,000 and because complete diversity

exists between the parties.

A.        Citizenship of the Parties

          Citizenship of the parties for diversity is determined at the time of filing. Grupo Datajlux

v. Atlas Group, L.P., 541 U.S. 567, 570-71 (2004). In the present case, the citizenship of all

parties to this action at the time of filing and presently is as follows. Defendant, One Beacon, is a

corporation organized under the laws of the Commonwealth of Pennsylvania, with its principal




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place ofbusiness in Minnesota. 1 Defendant, Resolute, is a corporation organized under the laws

of the State ofNebraska, with its principal place of business in Omaha, Nebraska? See Exhibit

4, Resolute's Nebraska Re-Domestication. Plaintiff, Celanese, is a corporation organized under

the laws of the State of Delaware, with its principal place ofbusiness in Texas. See Exhibit 2(b)

at~   2. Because neither OneBeacon nor Resolute are citizens of the same state as Celanese,

complete diversity exists between the parties.

B.       Amount in Controversy

         "[T]he amount in controversy, in an action for declaratory or injunctive relief, is the value

of the right to be protected or the extent of the injury to be prevented." Leininger v. Leininger,

705 F.2d 727, 729 (5th Cir. 1983). "When an insurer seeks a declaratory judgment regarding the

coverage provided by an insurance policy, 'the object of the litigation is the policy and the value

of the right to be protected is plaintiffs potential liability under that policy.'" St. Paul


1In paragraph 3 of its Petition, Celanese states that OneBeacon is organized under the laws of the Commonwealth of
Massachusetts, with its principal place of business in Boston, Massachusetts. It is true that prior to its re-
domestication to Pennsylvania in 20 I 3, OneBeacon was organized under the laws of the Commonwealth of
Massachusetts. However, this information is irrelevant for the purposes of determining complete diversity of the
parties for removal ofthis action because diversity is determined at the time of filing. Grupo, 541 U.S. at 570-71.

Further, OneBeacon's re-domestication from Massachusetts to Pennsylvania in 2013 is a matter of public record
and, if this fact is disputed by Celanese, OneBeacon will submit any additional documentation required by the
Court.

2 In paragraph 4 of its Petition, Celanese states that Resolute is a corporation organized under the laws of the State of
Delaware, with its principal place of business in Boston, Massachusetts. It is true that prior to its re-domestication
to Nebraska in June 2015, Resolute was organized under the laws of the State of Delaware. However, this
information is irrelevant for the purposes of determining complete diversity of the parties for removal of this action
because diversity is determined at the time of filing. Grupo, 541 U.S. at 570-71.

Likewise, the analysis underlying this Court's order remanding another case between the same parties earlier this
year for lack of diversity does not apply to the current proceedings. See Celanese Corp. v. OneBeacon Am. Ins. Co.,
No. 3:14-CV-3985-L, 2015 U.S. Dist. LEXIS 82953 (N.D. Tex. June 25, 2015) (Order adopting Magistrate Judge's
Recommendation); Celanese Corp. v. OneBeacon Am. Ins. Co., No. 3:14-CV-3985-L, 2015 U.S. Dist. LEXIS
83917 (N.D. Tex. May 27, 2015) (Findings, Conclusions, and Recommendation of the United States Magistrate
Judge). The state court action in the first matter was filed on October 2, 2014, prior to Resolute's redomestication to
Nebraska in June 2015. Therefore, at the time of filing, Celanese and Resolute were both citizens of Delaware. In
the present matter, at the time the State Court Action was filed, October 30, 2015, Resolute was no longer a citizen
of Delaware and complete diversity existed (and still exists) between Plaintiff and Defendants. See Exhibit 4,
Resolute's Nebraska Re-Domestication.

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Reinsurance Co., Ltd. v. Greenberg, 134 F.3d 1250, 1252-53 (5th Cir. 1998), quoting Allstate

Ins. Co. v. Hilbun, 692 F. Supp. 698, 700 (S.D. Miss. 1988). In declaratory judgment cases

involving the applicability of an insurance policy to a particular claim, "the jurisdictional amount

in controversy is measured by the value of the underlying claim- not the face amount of the

policy." Hartford Ins. Group v. Lou-Con Inc., 293 F.3d 908, 911 (5th Cir. 2002), quoting 14B

Charles Alan Wright et al., Federal Practice and Procedure§ 3710 (3d ed. 1998).

         In its Petition, Celanese seeks a declaration that OneBeacon and Resolute are liable for

the judgment entered against Celanese in the amount of $14,000,000 in the Seay Suit, regardless

of policy limits or other limitations in the insurance policies issued to Celanese. See Exhibit 2(b)

at~~   30-42, Prayer,~~ 1-3. It also seeks a declaration that OneBeacon and Resolute are liable

for the entirety of any final judgments or settlements in three other lawsuits currently pending

against Celanese: the G. Smith Suit, the Hammett Suit, and the C. Smith Suit, regardless of the

policy limits or other limitations in the insurance policies issued to Celanese. Id.   at~~   43-50,

Prayer,~~   4-5. In addition to these declarations, Celanese has also pled a tortious interference

claim against Resolute, seeking an award of direct, indirect, consequential and incidental

liquidated damages, plus punitive or exemplary damages. Id.      at~~   51-55, Prayer, ~ 6. With

respect to this claim, Celanese states "[i]n addition to the other relief sought by way of this

Petition, Celanese seeks monetary relief over $1,000,000." Id.    at~   28.

        Taken together, Celanese's allegations against OneBeacon and Resolute collectively seek

declarations ofliability in excess of$14,000,000 and an award of more than $1,000,000 in

monetary damages. These claims are well in excess ofthe $75,000 amount in controversy

requirement. Accordingly, the monetary jurisdictional perquisite to federal jurisdiction under 28

U.S. § 1332(a) is satisfied.



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C.      Venue

        Venue is proper in this District and Division because they are the "district and division

embracing the place where such action is pending[,]" Dallas County, Texas. 28 U.S.C. §

1441(a).

                   IV.     JOINDER/CONSENT OF ALL DEFENDANTS

        Defendants, OneBeacon and Resolute, join in and consent to the removal of this action to

this Court.

                     V.     NOTICE AND RESERVATION OF RIGHTS

        In accordance with 28 U.S.C. § 1446(a) and Rule 8l.l(a) ofthe Local Rules for the

United States District Court for the Northern District of Texas, attached are true and correct

copies of: (1) Index of Matters Being Filed; (2) Certified copies of documents on file in State

Court Action, Cause No. DC-15-13336 with the Dallas County District Clerk including

Plaintiffs Original Petition and Request for Disclosure filed on October 30, 2015 and Docket

Sheet; (3) Resolute's Acceptance of Service; (4) Resolute's Nebraska Re-Domestication

Documents; (5) List of All Counsel of Record; (6) OneBeacon's Certificate oflnterested

Persons; (7) Resolute's Certificate of Interested Persons; (8) Federal Civil Cover Sheet; and (9)

Northern District of Texas Supplemental Civil Cover Sheet, attached hereto as Exhibits 1-9,

respectively.

       Defendants will promptly file a copy of this Notice of Removal with the Clerk of the

District Court of Dallas County, Texas, where the action is pending, and will serve such notice

on Celanese as the only other party. 28 U.S.C. §§ 1446(a), (d).




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        By filing this Notice of Removal, Defendants are not making a general appearance and

are not waiving their right to raise any defense and/or ground for dismissal or right to seek

transfer of this matter to another district.

                                       VI.     CONCLUSION

        For the foregoing reasons, Defendants, OneBeacon and Resolute, respectfully request

that this action be removed to this Court.

        DATED and FILED November 30,2015.

                                                  Respectfully submitted,

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                                                  ATTORNEYS FOR ONEBEACON AMERICA
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                                                 Is/ D. Patrick Long

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                                                ATTORNEYS FOR DEFENDANT RESOLUTE
                                                MANAGEMENT, INC.




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day ofNovember 30, 2015, a true and accurate copy of
the foregoing document was filed with the Clerk of Court and copies of the same have been
provided by first class mail, postage prepaid to following counsel of record:

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